                                         Case 5:15-md-02617-LHK Document 284 Filed 09/11/15 Page 1 of 3




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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12                                                          Case No. 15-MD-02617-LHK
Northern District of California
 United States District Court




                                  13    IN RE ANTHEM, INC. DATA BREACH                        ORDER APPOINTING LEAD
                                        LITIGATION                                            PLAINTIFFS’ COUNSEL
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                                  18          In an order dated July 6, 2015, the Court invited counsel for the various plaintiffs in this

                                  19   multidistrict litigation (“MDL”) to file motions to serve as lead plaintiffs’ counsel. ECF No. 16 at

                                  20   3. The Court explained that the “chief criteria” the Court would consider in appointing lead

                                  21   plaintiffs’ counsel would be: (1) “Knowledge and experience in prosecuting complex litigation,

                                  22   including class actions”; (2) “Willingness and ability to commit to a time-consuming process”; (3)

                                  23   “Ability to work cooperatively with others”; and (4) “Access to sufficient resources to prosecute

                                  24   the litigation in a timely manner.” Id. These criteria largely track the four factors a district court

                                  25   must consider in appointing class counsel under Rule 23(g)(1)(A) of the Federal Rules of Civil

                                  26   Procedure. See Fed. R. Civ. P. 23(g)(1)(A).

                                  27          On August 20, 2015, the Court received eighteen separate motions to serve as lead

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                                       Case No. 15-MD-02617-LHK
                                       ORDER APPOINTING LEAD PLAINTIFFS’ COUNSEL
                                         Case 5:15-md-02617-LHK Document 284 Filed 09/11/15 Page 2 of 3




                                   1   plaintiffs’ counsel in this action. ECF Nos. 166, 167, 169, 170, 175, 176, 181, 182, 184, 185, 186,

                                   2   187, 188, 189, 190, 191, 192, 193. The Court received only one opposition brief, which was filed

                                   3   by Robbins Geller Rudman & Dowd LLP on August 27, 2015. ECF No. 217. Between August

                                   4   21, 2015, and September 3, 2015, the Court received numerous statements and notices filed in

                                   5   support of various law firms. ECF Nos. 195, 196, 197, 198, 199, 200, 205, 213, 214, 215, 216,

                                   6   223, 224, 241. On September 3, 2015, the Court received one reply, which was filed in support of

                                   7   Edelson P.C.’s and Grant & Eisenhofer P.A.’s motion to serve as lead plaintiffs’ counsel. ECF

                                   8   No. 252. That same day, Federman & Sherwood filed a notice withdrawing its motion to serve as

                                   9   lead plaintiffs’ counsel. ECF No. 240. Federman & Sherwood’s motion is therefore DENIED as

                                  10   moot. See ECF No. 175.

                                  11          Having reviewed all of these submissions, having heard the arguments at the September

                                  12   10, 2015 hearing, and considering the criteria set forth in the Court’s July 6, 2015 order as well as
Northern District of California
 United States District Court




                                  13   the factors enumerated in Rule 23(g)(1)(A), the Court hereby GRANTS in part and DENIES in

                                  14   part the motion to serve as lead plaintiffs’ counsel filed by Eve Cervantez of Altshuler Berzon

                                  15   LLP and Andrew Friedman of Cohen Milstein Sellers & Toll PLLC. See ECF No. 190. Ms.

                                  16   Cervantez and Mr. Friedman have (1) performed considerable work in identifying or investigating

                                  17   potential claims in this action; (2) demonstrated experience in handling complex class actions; (3)

                                  18   shown adequate knowledge of the applicable law; and (4) established a willingness to commit

                                  19   significant resources to representing the class. See Fed. R. Civ. P. 23(g)(1)(A). In addition, Ms.

                                  20   Cervantez and Mr. Friedman have worked well together up to this point in their role as interim

                                  21   plaintiffs’ counsel and have proposed a specific plan of action for prosecuting this MDL. See ECF

                                  22   No. 190 Ex. A. Ms. Cervantez and Mr. Friedman have also demonstrated a commitment to

                                  23   maintain scrupulous, contemporaneous billing records of all time spent litigating this case, see

                                  24   ECF No. 190 at 10, Ex. B, in compliance with this Court’s July 16, 2015 order, see ECF No. 46.

                                  25   For these reasons, the Court hereby APPOINTS Eve Cervantez of Altshuler Berzon LLP and

                                  26   Andrew Friedman of Cohen Milstein Sellers & Toll PLLC as Co-Lead Plaintiffs’ Counsel in this

                                  27   MDL.

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                                       Case No. 15-MD-02617-LHK
                                       ORDER APPOINTING LEAD PLAINTIFFS’ COUNSEL
                                         Case 5:15-md-02617-LHK Document 284 Filed 09/11/15 Page 3 of 3




                                   1           To assist Ms. Cervantez and Mr. Friedman in their capacity as Co-Lead Plaintiffs’

                                   2   Counsel, the Court hereby APPOINTS Eric Gibbs of Girard Gibbs LLP and Michael Sobol of

                                   3   Lieff Cabraser Heimann & Bernstein, LLP to a Plaintiffs’ Steering Committee. Mr. Gibbs and

                                   4   Mr. Sobol have considerable experience litigating privacy cases in this district. In the Court’s

                                   5   judgment, two Co-Lead Plaintiffs’ Counsel supported by a two-member Plaintiffs’ Steering

                                   6   Committee will best serve the interests of the putative class in this MDL. Nonetheless, the Court

                                   7   encourages Ms. Cervantez and Mr. Friedman to take advantage of the wealth of knowledge and

                                   8   expertise demonstrated by the other applicants in their moving papers and at the September 10,

                                   9   2015 hearing. In this regard, the Court encourages Ms. Cervantez and Mr. Friedman, as needed, to

                                  10   consult with the other applicants regarding devising damages theories, retaining data security

                                  11   experts, litigating against the defendants in this case, and identifying and communicating with

                                  12   potential plaintiffs.
Northern District of California
 United States District Court




                                  13           Having granted in part and denied in part the motion to serve as lead plaintiffs’ counsel

                                  14   filed by Ms. Cervantez and Mr. Friedman, the Court therefore DENIES the sixteen other pending

                                  15   motions to serve as lead plaintiffs’ counsel. ECF Nos. 166, 167, 169, 170, 176, 181, 182, 184,

                                  16   185, 186, 187, 188, 189, 191, 192, 193.

                                  17   IT IS SO ORDERED.

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                                  19   Dated: September 11, 2015

                                  20                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  21                                                    United States District Judge
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                                       Case No. 15-MD-02617-LHK
                                       ORDER APPOINTING LEAD PLAINTIFFS’ COUNSEL
